







NUMBER 13-00-441-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


__________________________________________________________________


VICTOR MANUEL JASSO,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

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On appeal from the 197th District Court 


of Cameron County, Texas.


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O P I N I O N



Before Justices Dorsey, Rodriguez, and Castillo


Opinion Per Curiam



	Appellant, VICTOR MANUEL JASSO, perfected an appeal from a
judgment entered by the 197th District Court of Cameron County,
Texas,  in cause number 00-CR-261-C.  Appellant has filed a motion to
dismiss the appeal.  The motion complies with Tex. R. App. P. 42.2(a).

	The Court, having considered the documents on file and
appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's
motion to dismiss the appeal is granted, and the appeal is hereby
DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 22nd day of February, 2001.


